Case 1:18-cv-00783-RDM Document 1-3 Filed 04/05/18 Page 1 of 3




               Exhibit C
Mail - dstevens@campaignforaccountability.org                                                                                       https://outlook.office.com/owa/
                              Case 1:18-cv-00783-RDM Document 1-3 Filed 04/05/18 Page 2 of 3

         Your Freedom of Information Act Request # EPA-R6-2018-004512

          Kirst, Tina <kirst.tina@epa.gov>
          Wed 3/7/2018 6:47 PM


          To:Daniel Stevens <dstevens@campaignforaccountability.org>;

          Cc:Ford, Mark <Ford.Mark@epa.gov>; Ragon, Derek <Ragon.Derek@epa.gov>; Ortiz, Diana <Ortiz.Diana@epa.gov>; Pemberton, Mary
            <Pemberton.Mary@epa.gov>; Malooly, Tom <Malooly.Tom@epa.gov>; Whitener, Susan <Whitener.Susan@epa.gov>; Albright, Glodine
            <albright.glodine@epa.gov>; Geisel, Alison <geisel.alison@epa.gov>; Wright, Bianca <wright.bianca@epa.gov>; Kim Shultz <kshultz@toeroek.com>;




         Hi Mr. Stevens:

         This email is a follow up to your telephone conversa on today with Mark Ford, U.S. Environmental Protec on Agency Region 6 Superfund
         FOIA, concerning your Freedom of Informa on Act request # EPA-R6-2018-004512.

         During the call, you conﬁrmed the following:

                  ·   You will accept rolling responses every 30 days, with an extension date of April 19, 2018, for a ﬁrst par al response;
                  ·   You agreed to a ﬁnal end date of December 31, 2018;
                  ·   You conﬁrmed you would like a denial log of any withheld informa on;
                  ·   You are willing to accept publicly available informa on such as published documents; and
                  ·   You conﬁrmed you would like to pursue the CBI Substan a on process if any Exemp on 4/CBI informa on is iden ﬁed as
                      responsive to your request.

         Addi onally, your request states that you are seeking “All records from January 1, 2012 to December 31, 2013, reﬂec ng communica ons
         (including emails, email a achments, text messages, telephone call logs, calendar invita ons/entries, mee ng no ces, mee ng agendas,
         informa onal material, talking points, or other materials) to, from, or between EPA Region 6 employees including Ursula Lennox, that
         contain the following search terms:

             A)    “Tar Creek”
             B)   “LICRAT”
             C)   “State Auditor”
             D)    “Gary Jones”
             E)   “Sco Prui ”
             F)    “Mark Osborn”
             G)   “Jack Dalrymple”
             H)   “Andy Lester”
             I)   “CWF Enterprises”

         You stated that you will limit the informa on for the EPA Region 6 Superfund employees to Ursula Lennox and James Costello only. Also,
         you limited the search terms for Superfund to items C, D, E, and G in the list above. You do wish to add an item “J” to the list of search
         criteria above and include “Susan Chandler” as a search term.

         You excluded items A, B, F, H, and I from the list above and conﬁrmed you do not wish to have these terms searched by Superfund
         Division.

         If you would please reply to this email conﬁrming whether you do or do not agree to the terms described above, it would be greatly
         appreciated.

         Thank you,


         Tina Kirst



1 of 2                                                                                                                                            3/8/2018, 8:59 AM
Mail - dstevens@campaignforaccountability.org                                            https://outlook.office.com/owa/
                          Case 1:18-cv-00783-RDM Document 1-3 Filed 04/05/18 Page 3 of 3
         Tina Kirst
         Toeroek Associates, Inc., A Subcontractor for AAR
         Contractor l U.S. Environmental Protection Agency Region 6 Superfund Division
         phone: 214-665-2242 l email: kirst.tina@epa.gov




2 of 2                                                                                               3/8/2018, 8:59 AM
